            Case 2:00-cr-00345-FCD Document 163 Filed 01/19/07 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   BENJAMIN B. WAGNER
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2745

 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA        )
11                                   )   CR. S-00-0345 FCD
                        Plaintiff,   )
12                                   )   GOVERNMENT’S MOTION TO DISMISS
                 v.                  )   PETITION FOR VIOLATION OF
13                                   )   SUPERVISED RELEASE; ORDER
     RICHARD SHEARER,                )
14                                   )   Date: January 22, 2007
                        Defendant.   )   Time: 10:00 a.m.
15                                   )   Ctrm: Hon. Frank C. Damrell, Jr.

16         The United States hereby moves to dismiss the violation
17   petition as to defendant Shearer.       Since the filing of the
18   petition, Dr. Shearer has filed amended tax returns with the
19   Internal Revenue Service and has paid in excess of $125,000 in
20   back taxes.      While there may continue to be outstanding issues
21   involving Dr. Shearer’s liability for penalties, interest, and
22   possible additional back taxes, he appears to have substantially
23   ///
24   ///

25   ///

26   ///

27   ///

28   ///
           Case 2:00-cr-00345-FCD Document 163 Filed 01/19/07 Page 2 of 2


 1   complied with the conditions of his release in this case.
 2   Accordingly, the government moves to dismiss the violation

 3   petition.

 4   Dated: January 18, 2007            McGREGOR W. SCOTT
                                        United States Attorney
 5
                                  By:    /s/ Benjamin B. Wagner
 6                                      BENJAMIN B. WAGNER
                                        Assistant U.S. Attorney
 7
 8
                                    O R D E R
 9
          Based on the foregoing, IT IS HEREBY ORDERED that the
10
     violation petition as to defendant Richard Shearer is dismissed.
11
12   Dated: January 19, 2007
13
14
15                                _______________________________________
                                  FRANK C. DAMRELL, JR.
16                                UNITED STATES DISTRICT JUDGE

17
18
19
20
21
22
23
24
25
26
27
28
